     APR.30.200B
              Case13:21   2129410235Document
                   1:08-cv-03713-SHS DLS NY  3                                  Filed 05/07/2008            Page#0990
                                                                                                                 1 of 3P. 002 /002


                 . . :&emcr NationWide Documet Ri:ieviil
                . ..11 ,Demovsky
                         . and Procll Lawyer
                                      S~ce conip~y .
                                                S~rvice'
                 . I JNITED s'iA TF.S DISTRict COUKl
                 . SOl JTHElt DTSTRIC1' OF NEW YO:K
                 --n-----------n".___n..~______n_____n..h_n~.n_~~---------_O_--nX
                 JESUS .lOTvlUJ SII ,v A SALAZAR,

                                      P.l.ainlift:                                             Case No. 08 CiV 3713
                                                                                               (Judgi. Stein) .
                                  -agai n:sl-                                                  M'llDA V IT or' SERVICE


                       . .
                 NATIONAL UNION "TRB INSURANCE
                 COMPANY OF"JllTTSBURCrH, :P.A.~ .

                                      Detendaiit.
                 -------------:--.n------__n_______________u.__n_____nn__--n-n-X
                 STATE Of PENNSYLVANIA )
                              S.S.:
                 COUNTY OF CUMßERJ.t\D                      )


                                                     xløf fi 1l1V.
                         RKI"AIZP                                     , being duly ~Wol1, depose!; aiid says that he/she i!; OVúr

                 the 'agc of dglit~en years, ¡.s an ..¡gent of the al..Ümey service, DJ ..S., Inc., and is IIOf: ä parly to this action.


                                                           . .
                                 That on thc 28th day of April, 2008, a.t approximatcly l.hç time; of q í t)O ¡t~ di.ponent

                 s~rved a tnic copy iifthe SUMMONS IN A CIVIL ACTION; COMPLAIN WlIHJURY DEMAND;

                 AND ClVlL C.:OVER Slf::l:;T upon NA 1l0NAL UNiON rlTRE-1NSURANCE COMPANY Or'

                 PJTTSTlUR.GH, 1).A. at 2704 .Ciimm~rce Drive, Siiiti. H, l1arl'shurgb., pA, by personally dcl,ivci:ing and

                . leaving the s¡UIl~ with We,., D1 Sko' l- v:hi; i~unned deponcnt (hal. S4~ holds the
                 . "l -¡ . Sè.t~ .. . . :.
                 position otCu~ltM"t~. 'with thal i.oiupany and' is a\ltli(lri;l\.L! by appointment to rccçilii. s~rV:Iç~,.n,l~

                 that address.
                                                                                                                                           'I

                 . fA ßVl íJ '1 J'J ii-                         is aiu4t'l~ f,t..~ '.' a~p~oxillate.ly50 year.~ ~ir.~g(,,

                 sumds apprnx iriai.dy.f feet Y i:udics I..Ü, weighs apprI.lica.\.t:lyi yo pounds wiih 'lO . liair.



                ~J
                 PROCES~ SERVER                                          COMMONWEALTH OF PENNSYLVANIA
                                                                                 NOTARIAL SEAL
                                                                          SUZANNE M. DEDERER, fIbtary Public
                                                                          Camp Hill Bora, Cumberland County
                                                                          My Comission Expires Au.. 20, 2Q09
D.L.S., lnc:.
401 Broadway
Ste SlO
NY, 'NY.10013
:n2.915.1220
ww.dlmy.i:m
                     Case 1:08-cv-03713-SHS                     Document 3           Filed 05/07/2008          Page 2 of 3
                                                                 :1
                                                                 .~j                                        ORIGII~AL
 a:AO 440 (Rev. 8/01) Summons in a Civil Action


               ---, ..'
                                            UNITED STATES DISTRlCT COURT
                               Southern                                District of                         New York

              JESUS HOMERO SILVA SALAZAR

                                                                                     SUMMONS IN A CIVIL ACTION
                                       V.
            NATIONAL UNION FIRE INSURANCE                                                                                  ..,~.
             COMPANY OF PITTSBURGH, PA                                                                          -",,' F"."-¡' ......
                                                                                                                "'w '~'ii) .,. "
                                                                                                                 ~! if.~.,j'
                                                                                     'u~, " 3                   i~¿;i ....




                          TO: (Name and address of Defendant)

                                 NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH,
                                 PA
                                 2704 COMMERCE DRIVE, SUITE B
                                 HARRISBURG, PENNSYLVANIA 17110



          YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF'S ATTORNEY (name and address)
                                  ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK P.C.
                                  1345 AVENUE OF THE AMERICAS, 31ST FLOOR
                                  NEW YORK, NEW YORK 10105




an answer to the complaint which is served on you with this summons, within 20 days after service
of  this summons on you, exclusive of                 the day of service, If     you fail to do so, judgment by default wil be taken against you
for the relief demanded in the complaint. Any answer that you serve on the paries to this action must be fied with the
Clerk of     this Court within a reasonable period of                   time after service.




           J. MICH.AELMcr\1RON                                                                       APR 1 8 Z008



       ~/I(~
CLERK /~::¿ . i- IÍ

(By) DE c~,iii" t.. ,- t(
                                                                              DATE
                      Case 1:08-cv-03713-SHS                                 Document 3         Filed 05/07/2008         Page 3 of 3

~AO 440 (Rev. 8/01) Summons in a Civil Action
       -          ,
                                                                      RETURN OF SERVICE
               . -~ '"
                                                                             DATE
  Service of   the Summons and complaint was made by mél)
NAME OF SERVER (PRINT)                                                       TITLE


    Check one box below to indicate aDDroDriate method of service

           D Served personally upon the defendant. Place where served:


           D Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and
             discretion then residing therein.
               Name of      person with whom the summons and complaint were left:

           D   Returned unexecuted:




           D Other (specifY):



                                                                 STATEMENT OF SERVICE FEES
TRA VEL
                                                         I SERVICES                                                 I TOTAL $ 0.00
                                                                    DECLARATION OF SERVER

                         I declare under penalty of     perjury under the laws ofthe United States of America that the foregoing information
           contained in the Return of Service and Statement of Service Fees is true and correct.


           Executed on
                                             Date                     Signature of Server




                                                                      Address of Server




(I) As to who may serve a summons see Rule 4 of       the Federal Rules of   Civil Procedure.
